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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                 DAVENPORT DIVISION


 TIMOTHY SCHMITZ,                                   Case No. 14-cv-00004-JAJ

         Plaintiff,

 v.
                                                              STIPULATION FOR
 CLAUSEN SUPPLY CO., JOHN CLAUSEN,                        DISMISSAL WITH PREJUDICE
 and KCAH, INC. d/b/a ALLSTAR
 STAFFING,

         Defendants.



       COME NOW Plaintiff Timothy Schmitz and Defendant Clausen Supply Co., John Clausen,

and KCAH, Inc. d/b/a Allstar Staffing, and hereby stipulate and agree that Plaintiff’s Complaint shall

be dismissed with prejudice, each party to bear their own costs and attorneys’ fees.



Dated: December 29, 2014

FIEDLER & TIMMER, P.L.L.C.                                     NYEMASTER GOODE, P.C.



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ATTORNEYS FOR PLAINTIFF                                        ATTORNEYS FOR DEFENDANT
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                                CERTIFICATE OF SERVICE

     I hereby certify that on the 29th day of December, 2014, I electronically filed the foregoing
STIPULATION FOR DISMISSAL WITH PREJUDICE with the Clerk of the Court using the
CM/ECF system which sent notification of such filing to the following counsel of record:

        Mitchell R. Kunert
        Frances M. Haas
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        Des Moines, Iowa 50309

        ATTORNEYS FOR DEFENDANT


/s/ Bethany Schemmel
